                                                            United States District Court
                                                             Northern District of Ohio

                                                 Non-Appeal Transcript Order
    To Be Completed by Ordering Party

    Court Reporter                         Shrile Perkins                     Judicial Officer                Solomon Oliver, Jr.

    Requested by:                Charles E. Fleming                                              Phone        216-522-4856

    Case Name           United States v. Mustafah Omar Hawkins

    Case Number               1:20CR343         Date(s) of Proceedings                       June 11, 2020

    Today's Date        July 14, 2020                       Requested Completion Date        August 14, 2020

     Financial arrangements must be made with the court reporter before transcript is prepared. If the method of
           payment is authorized under CJA, submit the AUTH-24 in the OHND CJA eVoucher System
    Email Address        charles_fleming@fd.org            s/ Charles E. Fleming
                                                                                                 Signature of Ordering Party

                                                             Maximum Rate Per Page

                                                                                                              First Copy to         Each add'l
                                      Transcript Type                                      Original
                                                                                                               each party             Copy

    Ordinary: A transcript to be delivered within thirty (30) days after                            $3.65               $0.90            $0.60
    receipt of order.

    14-Day Transcript: A transcript to be delivered within fourteen (14)                            $4.25               $0.90            $0.60
    days after receipt of an order.

    Expedited/7-Day Transcript: A transcript to be delivered                                        $4.85               $0.90             $0.60
    within seven (7) days after receipt of order.

    3-Day Transcript: A transcript to be delivered within three (3) days                            $5.45               $1.05             $0.75
    after receipt of order.

    Daily: A transcript to be delivered prior to the normal opening hour of the
    Clerk’s Office on the calendar day following receipt of the order, regardless of                $6.05               $1.20            $0.90
    whether or not that calendar day is a weekend or holiday.

    Hourly: A transcript of proceedings to be delivered within                                      $7.25               $1.20             $0.90
    two (2) hours from receipt of the order.

    Realtime Unedited Transcript: A draft unedited transcript                                       $3.05                      
    produced by a certified realtime reporter as a byproduct of realtime to be
    delivered electronically during proceedings or immediately following               One feed, $3.05
    receipt of the order.                                                              per page; two to
                                                                                       four feeds, $2.10
                                                                                       per page; five or
                                                                                       more feeds,
                                                                                       $1.50 per page.

Local Civil Rule 80.1/Criminal Rule 57.20 of the Northern District of Ohio requires transcript requests to be addressed to the court
 reporter who took the proceeding and filed with the Clerk of Court. Please electronically file the form and the appropriate court
                                 reporter and court staff will receive notification of the filing.
